Case 4:11-cr- I
ase 4:11-cr-0157@RININARCCOMBIAINTEd 02/16/11 Page 1 of 1

united States District Court DISTRICT of ARIZONA
United States of America DOCKET NO.
Vv.
Stephanie Gasteluh FILED 7

DOB: xx-xx-1988; United States Cilizgforiven Gist RATE SCASE e4 TM-
Complaint for violation of Title 8 nie Statds Code §§ 1324(a)(1)(A) Gil)

CLERK US DISTRICT SouRT - and 1324(a)(1BI)

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COMPLAINANT'S STATEMENT OF FACTS. CONSTITUTING THADQRFENSE OR VIOLATION:

On or about February 14, 2011, at or near Nogales, in the District of Arizona, ‘Stephanie Gastelum, knowing
and in reckless disregard of the fact that illegal aliens, including E.C.R., J. G. E., Sergio Diaz Torres, and
Angel Estrada Miranda, had come to, entered and remained in the United States in violation of law, did harbor,
or shield from detection such alien in any place, including any means of tranportation in furtherance of such
violation of law and did so for the purpose of private financial gain; in violation of Title 8, United States Code,
Sections 1324(a)(1)(A)(iii) and 1324(a)(1)(B)(i).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On or about February 14, 2011, the defendant, Stephanie Gastelum, was stopped in the southbound lane at
the Deconcini Port of Entry in Nogales, Arizona. Stephanie Gastelum was driving a white 2010 Nissan
Altima Hybrid rental car. She presented a US Passport. She had four passengers in the car, juveniles E. C.
R., and G. E., as well as material witnesses Sergio Diaz Torres and Angel Estrada Miranda. The material
witnesses are citizens of Mexico and did not possess any documents allowing them to be in the United States
legally. The material witnesses admitted to entering the United States illegally for purposes of smuggling
narcotics. They stated that after delivering the narcotics to Tucson, Arizona, they made arrangements with
Stephanie Gastelum’s mother to be transported back to Mexico. After Miranda, Stephanie Gastelum stated
she was instructed by her mother to transport all four subjects from Tucson, Arizona to Nogales, Sonora,
Mexico. She admitted she knew the passengers were illegally in the Untied States. She further admits to being
paid $20 from each of the material witnesses. Both material witnesses admitted to paying Stephanie Gastelum
$20 for gas, and were going to pay an additional $100 to Stephanie Gastlum after she crossed them back into
Mexico.

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

Sergio Diaz Torres and Angel Estrada Miranda

Detention Requested F COMPLAINANT
Being duly sworn, I declare that the foregaing is i

true and correct to the best of my kn: : d
AUTHORIZED BY: AUSA BCC LAA OFFICIA'
US Border Patrol Zu stirs + Border Pre
Sworn topefore me and subscribed in my presence. XE

SIGN MOA QEMAGSARAS UDGE™ DATE
February 16, 2011

1) See Federal rules of Criminal Procedure Rules 3 and 54

